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      FORD MOTOR COMPANY
   13
                          UNITED STATES DISTRICT COURT
   14
                        CENTRAL DISTRICT OF CALIFORNIA
   15
      IN RE: FORD MOTOR CO. DPS6            Case No. 2:18-ML-02814 AB
   16 POWERSHIFT TRANSMISSION PRODUCTS (PVCx)
      LIABILITY LITIGATION
   17                                       Assigned to: Judge Andre Birotte, Jr.
                                            Courtroom 7B
   18 DOCUMENT RELATES ONLY TO:
   19 Mejia v. Ford Motor Co., 2:17-cv-06654         DEFENDANT FORD MOTOR
      Rule v. Ford Motor Co., 2:17-cv-7204           COMPANY’S PROPOSED PRE-
   20 Hogge v. Ford Motor Co., 2:17-cv-07256         TRIAL SCHEDULE FOR THE
                                                     MULTI-PLAINTIFF TRIAL IN
   21 Ballesteros v. Ford Motor Co., 5:17-cv-02042   REMAINING INITIAL
      Berry v. Ford Motor Co., 5:17-cv-02034
                                                     DISPOSITION POOL CASES
   22 Henry v. Ford Motor Co., 5:17-cv-02046
      Hernandez v. Ford Motor Co., 5:17-cv-02045
   23 Zea v. Ford Motor Co., 2:18-cv-01831
      Inglese v. Ford Motor Co., 2:18-cv-02367
   24
   25
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   27
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                                                     FORD’S PROPOSED PRE-TRIAL SCHEDULE
                                                              Case No. 2:18-ML-02814 AB (PVCx)
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     1 TO THE COURT, THE PARTIES AND THEIR COUNSEL OF RECORD:
     2         Below is Ford’s proposed schedule for any multi-plaintiff trial in this matter.
     3 Parties had a fundamental disagreement over certain key issues impacting the
     4 schedule and multi-plaintiff trial. Accordingly, each side is submitting its own
     5 proposed schedule. Parties are continuing to meet and confer and ask if they may have
     6 until Wednesday, November 3 by 2:00 pm to either submit a proposed joint schedule,
     7 or submit a short position statement in support of its proposed schedule (no more than
     8 3 page statement for each side).
     9                                           ***
   10          IT IS HEREBY ORDERED, that the following pretrial dates 1 are hereby
   11 adopted by the Court for the Multi Plaintiff Trial of the remaining nine Initial
   12 Disposition Pool (“IDP”) cases, identified in the caption above:
   13
   14                            Pre-trial Deadlines for all 9 IDP cases
             Plaintiff Expert Reports                               March 1, 2022 (17
   15
                                                                    weeks before trial date)
   16        Ford’s Expert Reports                                  March 22, 2022 (14
   17                                                               weeks before trial date)
                                                  2
             Last day to file dispositive motions and Daubert April 19, 2022 (10
   18        briefs                                                 weeks before trial date)
   19        Deadline to file Motions in Limine                     May 3, 2022 (8 weeks
                                                                    before trial date)
   20        Deadline to file Oppositions to Motions in Limine; May 17, 2022 (6 weeks
   21        deadline to exchange objections to exhibits, before trial date)

   22
        Ford agreed to a multi-plaintiff trial based on the understanding that an expert and
         1

   23 pretrial schedule would be set given that fact discovery is closed and the deadline to
   24 amend the pleadings long ago passed.
   25 In Parties’ conferral, Plaintiffs asked that Ford file any summary judgment motions,
      2

      such as those challenging fraud claims, before expert reports. Ford agreed to do so
   26 with the agreement Plaintiffs provided that, if expert discovery demonstrates other
   27 grounds for summary judgment, Plaintiffs will consent to Ford seeking leave to bring
      a further summary judgment.
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                                                  1
                                                          FORD’S PROPOSED PRE-TRIAL SCHEDULE
                                                                  Case No. 2:18-ML-02814 AB (PVCx)
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     1     deposition designations, proposed jury instructions,
           and verdict forms
     2
           Deadline to exchange proposed exhibit lists, trial              May 24, 2022 (5 weeks
     3     witness lists, deposition designations, proposed jury           before trial date)
     4     instructions, and proposed verdict forms
           Deadline to lodge disputed exhibits and deposition              June 7, 2022 (3 weeks
     5     designations with the Court                                     before trial date)
     6     Deadline for pre-trial filings [This includes                   June 14, 2022 (2 weeks
           memoranda of contentions of fact and law, witness               before trial date)
     7     lists, joint exhibit list, joint status report re settlement,
     8     Final Pretrial Conference Order, Agreed and
           Disputed Jury Instructions, Joint and Disputed
     9     Proposed Verdict Form, Joint Proposed Statement of
   10      Case, Proposed Additional Voir Dire Questions]
           Hearing on parties’ objections to exhibits and                  June 21, 2022 (1 week
   11      deposition designations; final pretrial conference; in          before trial date)
   12      limine hearing
           Consolidated Trial in the remaining nine IDP cases              June 28, 2022
   13
   14
   15
         Dated: November 1, 2021                          Respectfully submitted,
   16
                                                          SHOOK, HARDY & BACON L.L.P.
   17
   18                                                     By: /s/ Amir Nassihi
                                                                  Frank P. Kelly
   19                                                            Amir Nassihi
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   20
                                                                 GORDON REES SCULLY
   21                                                            MANSUKHANI LLP
                                                                 Spencer P. Hugret
   22
                                                                 Attorneys for Defendant
   23                                                            FORD MOTOR COMPANY
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                                                               FORD’S PROPOSED PRE-TRIAL SCHEDULE
                                                                       Case No. 2:18-ML-02814 AB (PVCx)
